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                        UNITED STATES BANKRUTPCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                            FT. LAUDERDALE DIVISION
                                www.flsb.uscourts.gov

In re:                                         Case No. 19-13715-SMG
         Adrian Mesa

          Debtor(s).                           Chapter 13
_________________________/

                      MOTION TO MODIFY CHAPTER 13 PLAN

         COMES NOW, the Debtor, by and through his undersigned counsel and files this

Motion to Modify Chapter 13 Plan and as grounds states as follows:

         1.      On March 22, 2019 the instant case was filed.

         2.      On May 31, 2019 Debtor’s Chapter 13 plan was confirmed.

         3.      In said plan the Debtor was paying a higher amount to the unsecured

                 creditors than the total amount of allowed unsecured creditors.

         4.      The deadline for filing claims has now passed and Debtor wishes to

                 modify his plan to provide for said payment to all of the allowed

                 unsecured creditors.

         WHEREFORE, undersigned counsel prays that this Honorable Court enter an

Order Granting and Approving Debtor’s First Modified Plan.

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this Court as set forth in Local Rule 910(A).

                              CERTIFICATE OF SERVICE
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                I HEREBY CERTIFY, that a true and correct copy of the foregoing was

sent via ecf to Robin R. Weiner, Trustee and U.S. Mail on June 2, 2020: to all parties on

the service list.

                                     Respectfully Submitted:

                                     ROBERT SANCHEZ, P.A.
                                     Attorney for Debtors
                                     355 W 49th Street
                                     Hialeah, FL 33012
                                     Tel. 305-687-8008

                                     By:/s/ Robert Sanchez_____________
                                       Robert Sanchez, Esq., FBN#0442161
